Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                        Chapter you are filing under:

                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Dayton
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Matthew
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Dennison
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Matt Dennison
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3444
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Dayton Matthew Dennison                                                                        Case number (if known)




                                 About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                       I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                  Business name(s)
     doing business as names

                                 EINs                                                              EINs




5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                 4323 NE 45th St
                                 Seattle, WA 98105
                                 Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                 King
                                 County                                                            County

                                 If your mailing address is different from the one                 If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any         in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                           mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                        Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,               Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any                   have lived in this district longer than in any other
                                        other district.                                                    district.

                                       I have another reason.                                            I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                   Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Dayton Matthew Dennison                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                    Chapter 11
                                    Chapter 12
                                    Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                  No.
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy
    cases pending or being
                                  No
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your
    residence?
                                  No.        Go to line 12.

                                  Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




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Debtor 1    Dayton Matthew Dennison                                                                        Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?
                                    Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                    No.       I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).             No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                    Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                    No.
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Dayton Matthew Dennison                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                                You must check one:
    you have received a               I received a briefing from an approved credit                     I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                     counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                   this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                         completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.                  any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check          I received a briefing from an approved credit                     I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                     counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have                  this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                       of completion.
     file.
                                         Within 14 days after you file this bankruptcy                      Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and              MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                              any.
     will lose whatever filing fee
     you paid, and your                 I certify that I asked for credit counseling                      I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                          from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                       those services during the 7 days after I made my
                                         days after I made my request, and exigent                          request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                      temporary waiver of the requirement.
                                         of the requirement.
                                                                                                            To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                        attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                    to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why                  before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for                  circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                    Your case may be dismissed if the court is dissatisfied
                                                                                                            with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                         filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                          If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must              receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.            file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                      copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you                  not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                            Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                            cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about                     I am not required to receive a briefing about credit
                                         credit counseling because of:                                      counseling because of:

                                              Incapacity.                                                      Incapacity.
                                               I have a mental illness or a mental deficiency                    I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                           makes me incapable of realizing or making rational
                                               making rational decisions about finances.                         decisions about finances.

                                              Disability.                                                      Disability.
                                               My physical disability causes me to be                            My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                    participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I                   through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                        do so.

                                              Active duty.                                                     Active duty.
                                               I am currently on active military duty in a                       I am currently on active military duty in a military
                                               military combat zone.                                             combat zone.
                                         If you believe you are not required to receive a                   If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a                  about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.                of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
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Debtor 1    Dayton Matthew Dennison                                                                       Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that
     after any exempt
                                  Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
                                           are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses
     are paid that funds will
                                            No
     be available for                       Yes
     distribution to unsecured
     creditors?

18. How many Creditors do         1-49                                           1,000-5,000                                25,001-50,000
    you estimate that you                                                         5001-10,000                                50,001-100,000
    owe?                          50-99
                                  100-199                                        10,001-25,000                              More than100,000
                                  200-999

19. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your assets to       $50,001 - $100,000                                                                         $1,000,000,001 - $10 billion
    be worth?                                                                     $10,000,001 - $50 million
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

20. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your liabilities     $50,001 - $100,000                                                                         $1,000,000,001 - $10 billion
    to be?                                                                        $10,000,001 - $50 million
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Dayton Matthew Dennison
                                 Dayton Matthew Dennison                                           Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     September 3, 2019                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1   Dayton Matthew Dennison                                                                        Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Donald A. Bailey                                               Date         September 3, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Donald A. Bailey 12289
                                Printed name

                                Donald A Bailey Attorney at Law
                                Firm name

                                1610 Fifth Ave., suite 610
                                Seattle, WA 98101
                                Number, Street, City, State & ZIP Code

                                Contact phone    206 682 4802                                Email address         donald.bailey@shaferbailey.com
                                12289 WA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Dayton Matthew Dennison
                            First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                         Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $          1,200,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              78,881.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $          1,278,881.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $          1,135,990.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $          1,240,122.00


                                                                                                                                    Your total liabilities $                  2,376,112.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $              14,009.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $              10,142.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1      Dayton Matthew Dennison                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Dayton Matthew Dennison
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WASHINGTON

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        4323 NE 45th St.
        Street address, if available, or other description
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
        Seattle                           WA        98105-0000                         Land                                      entire property?              portion you own?
        City                              State              ZIP Code                  Investment property                              $975,000.00                   $975,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        King                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                       At least one of the debtors and another       Check if this is community property
                                                                                                                                       (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Residence




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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 Debtor 1         Dayton Matthew Dennison                                                                                   Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        2110 136th Ave E                                                             Single-family home                          Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                     Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                     Condominium or cooperative

                                                                                     Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
        Sumner                           WA         98390-0000                       Land                                        entire property?              portion you own?
        City                             State               ZIP Code                Investment property                                $225,000.00                   $225,000.00
                                                                                     Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                     Other                                       (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one       a life estate), if known.

                                                                                     Debtor 1 only
        Pierce                                                                       Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                     At least one of the debtors and another         (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Investment property held in title by Dennison Investments LLC - single
                                                                             member LLC formed prior to marriage


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                       $1,200,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Chevrolet                                                                                                  Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                   the amount of any secured claims on Schedule D:
          Model:        Silverado                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
          Year:         2015                                             Debtor 2 only                                            Current value of the         Current value of the
          Approximate mileage:                        47500              Debtor 1 and Debtor 2 only                               entire property?             portion you own?
          Other information:                                             At least one of the debtors and another
         Titled in name of Bigfoot
         Plumbing LLC                                                    Check if this is community property                              $15,000.00                    $15,000.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                               $15,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                            Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

Official Form 106A/B                                                             Schedule A/B: Property                                                                          page 2
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 Debtor 1       Dayton Matthew Dennison                                                               Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    King bed set, sofa, chairs, desk & chairs, dining set, outdoor
                                    seating, appliances                                                                                          $4,325.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    65" TV 2015, 56" TV 2012, laptop 2016, iphone (cracked), printer,
                                    scanner, surface (old)                                                                                       $1,250.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes.     Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes.     Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes.     Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     No
     Yes.     Describe.....

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Submariner watch; iWatch 2016                                                                                $3,200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.     Describe.....

                                    Golden Doodle                                                                                                      $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.     Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $8,775.00

Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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 Debtor 1          Dayton Matthew Dennison                                                                                          Case number (if known)


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                       Cash                                 $1,500.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.      Checking                               BECU xxxxxx6595                                                             $3,300.00



                                              17.2.      Savings                                BECU xxxxxxx6595                                                                  $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................        Institution or issuer name:


                                                       Morgan Stanley Acct # xxxxxxxxx2-539                                                                                       $1.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                               % of ownership:

                                                  Bigfoot Plumbing LLC                                                                    100          %                          $0.00


                                                  Dennison Investments LLC                                                                100          %                          $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                  Institution name:

                                              IRA                                               Morgan Stanley IRA Acct # xxxxxxxxx9-539                                  $46,605.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                                   page 4
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 Debtor 1        Dayton Matthew Dennison                                                                    Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                          Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.     Give specific information..



Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 5
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 Debtor 1         Dayton Matthew Dennison                                                                                         Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes.      Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.      Describe each claim.........

35. Any financial assets you did not already list
     No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $51,406.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes.      Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.      Describe.....


                                        Office supplies; safe                                                                                                                   $200.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.      Describe.....


                                        Plumber's hand and power tools                                                                                                        $3,500.00


41. Inventory
     No
     Yes.      Describe.....


42. Interests in partnerships or joint ventures
     No
     Yes.      Give specific information about them...................
                                      Name of entity:                                                                               % of ownership:




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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 Debtor 1         Dayton Matthew Dennison                                                                                              Case number (if known)

43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                No
                Yes.      Describe.....


44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................             $3,700.00

 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $1,200,000.00
 56. Part 2: Total vehicles, line 5                                                                           $15,000.00
 57. Part 3: Total personal and household items, line 15                                                       $8,775.00
 58. Part 4: Total financial assets, line 36                                                                  $51,406.00
 59. Part 5: Total business-related property, line 45                                                          $3,700.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                            +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $78,881.00             Copy personal property total          $78,881.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $1,278,881.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 7
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 Fill in this information to identify your case:

 Debtor 1                Dayton Matthew Dennison
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to
the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      4323 NE 45th St. Seattle, WA 98105                                                                                         Wash. Rev. Code §§ 6.13.010,
      King County
                                                                     $975,000.00                              $125,000.00
                                                                                                                                 6.13.020, 6.13.030
      Residence                                                                              100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit

      King bed set, sofa, chairs, desk &                                                                                         Wash. Rev. Code §
      chairs, dining set, outdoor seating,
                                                                       $4,325.00                                 $4,325.00
                                                                                                                                 6.15.010(1)(c)(i)
      appliances                                                                             100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                             any applicable statutory limit

      65" TV 2015, 56" TV 2012, laptop                                                                                           Wash. Rev. Code §
      2016, iphone (cracked), printer,
                                                                       $1,250.00                                 $1,250.00
                                                                                                                                 6.15.010(1)(c)(i)
      scanner, surface (old)                                                                 100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                             any applicable statutory limit

      Submariner watch; iWatch 2016                                                                                              Wash. Rev. Code §
      Line from Schedule A/B: 12.1
                                                                       $3,200.00                                 $3,200.00
                                                                                                                                 6.15.010(1)(a)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Cash                                                                                                                       Wash. Rev. Code §
      Line from Schedule A/B: 16.1
                                                                       $1,500.00                                 $1,500.00
                                                                                                                                 6.15.010(1)(c)(ii)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 1 of 2
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 Debtor 1    Dayton Matthew Dennison                                                                    Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: BECU xxxxxx6595                                                                                                   Wash. Rev. Code §
     Line from Schedule A/B: 17.1
                                                                      $3,300.00                                   $500.00
                                                                                                                                 6.15.010(1)(c)(ii) Check new
                                                                                          100% of fair market value, up to      limits !!!
                                                                                           any applicable statutory limit

     IRA: Morgan Stanley IRA Acct #                                                                                              Wash. Rev. Code § 6.15.020(3)
     xxxxxxxxx9-539
                                                                     $46,605.00                                      100%
     Line from Schedule A/B: 21.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Office supplies; safe                                                                                                       Wash. Rev. Code §
     Line from Schedule A/B: 39.1
                                                                         $200.00                                  $200.00
                                                                                                                                 6.15.010(1)(d)(ii)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Plumber's hand and power tools                                   $3,500.00                                                 Wash. Rev. Code §
     Line from Schedule A/B: 40.1                                                                                                6.15.010(1)(d)(iii)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Dayton Matthew Dennison
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial                           Describe the property that secures the claim:                 $35,000.00               $15,000.00           $20,000.00
         Creditor's Name                          2015 Chevrolet Silverado 47500
                                                  miles
                                                  Titled in name of Bigfoot Plumbing
         PO Box 380901                            LLC
                                                  As of the date you file, the claim is: Check all that
         Minneapolis, MN                          apply.
         55438-0901                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        3559

 2.2     BB&T                                     Describe the property that secures the claim:               $779,990.00               $975,000.00                     $0.00
         Creditor's Name                          4323 NE 45th St. Seattle, WA 98105
                                                  King County
         200 W Second St                          Residence
                                                  As of the date you file, the claim is: Check all that
         Winston Salem, NC                        apply.
         27101                                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          10/2016                   Last 4 digits of account number

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 Dayton Matthew Dennison                                                                          Case number (if know)
              First Name                  Middle Name                     Last Name




        Estate of James
 2.3                                                                                                            $321,000.00           $225,000.00        $96,000.00
        Beckland                                   Describe the property that secures the claim:
        Creditor's Name                            2110 136th Ave E Sumner, WA
                                                   98390 Pierce County
                                                   Investment property held in title by
                                                   Dennison Investments LLC - single
                                                   member LLC formed prior to
        Jaime Beckland                             marriage
                                                   As of the date you file, the claim is: Check all that
        18228 11th Ave NE                          apply.
        Seattle, WA 98155                           Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2014                        Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                             $1,135,990.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $1,135,990.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Dayton Matthew Dennison
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                           amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority             Nonpriority
                                                                                                                                              amount               amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                                  $0.00                $0.00                 $0.00
              Priority Creditor's Name
              Bankruptcy Notice                                      When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                           Case number (if know)

 2.2        Wash Atty Genl                                           Last 4 digits of account number     1049                      $0.00                  $0.00                 $0.00
            Priority Creditor's Name
            Bankruptcy Unit                                          When was the debt incurred?
            800 Fifth Avenue, Suite 2000
            Seattle, WA 98104
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                             Total claim

 4.1        ADT                                                        Last 4 digits of account number        7667                                                          $655.00
            Nonpriority Creditor's Name
            c/o Richard Avis                                           When was the debt incurred?
            PO Box 31579
            Chicago, IL 60631
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                             Contingent
             Debtor 2 only                                             Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             Check if this claim is for a    community                 Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                       Other. Specify     Personal liability disputed




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                         Case number (if know)

 4.2      Ally                                                       Last 4 digits of account number       8970                                            $9,370.00
          Nonpriority Creditor's Name
          PO Box 78234                                               When was the debt incurred?
          Phoenix, AZ 85062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Deficiency on personally guaranteed
           Yes                                                       Other. Specify     vehicle loan

 4.3      American Express                                           Last 4 digits of account number       2006                                          $20,000.00
          Nonpriority Creditor's Name
          Bankruptcy Dept                                            When was the debt incurred?           2016-19
          16 General Warren Blvd
          Malvern, PA 19355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business credit card - estimated amount


 4.4      Bank of America                                            Last 4 digits of account number                                                     $50,000.00
          Nonpriority Creditor's Name
          PO Box 982235                                              When was the debt incurred?           2012-2019
          El Paso, TX 79998-2235
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Two business credit cards - estimated
           Yes                                                       Other. Specify     amount




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                         Case number (if know)

 4.5      Bank of America                                            Last 4 digits of account number       9242                                          $12,000.00
          Nonpriority Creditor's Name
          PO Box 982235                                              When was the debt incurred?           2000-19
          El Paso, TX 79998-2235
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Alaska Airlines credit card - estimated
           Yes                                                       Other. Specify     amount

 4.6      Bud & Marilynn Dennison                                    Last 4 digits of account number                                                     $75,000.00
          Nonpriority Creditor's Name
          3717 Lake Washington Blvd N                                When was the debt incurred?           2014
          Renton, WA 98056
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Loan for downpayment on Sumner
           Yes                                                       Other. Specify     property

 4.7      Ferguson Enterprises                                       Last 4 digits of account number                                                     $62,357.00
          Nonpriority Creditor's Name
          c/o Michael DeLeo                                          When was the debt incurred?
          1850 Skyline Tower
          10900 NE 4th St
          Bellevue, WA 98004-8341
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business debt - plumbing supplies




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                         Case number (if know)

 4.8      Fora Financial                                             Last 4 digits of account number                                                    $212,000.00
          Nonpriority Creditor's Name
          242 West 36th St                                           When was the debt incurred?           2/2018
          14th floor
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business loan


 4.9      Greystar Development & Constr                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          800 5th Ave                                                When was the debt incurred?
          Suite 4000
          Seattle, WA 98104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Construction defect - personal liability
           Yes                                                       Other. Specify     disputed

 4.1
 0        Hilti Inc                                                  Last 4 digits of account number       6284                                                  $0.00
          Nonpriority Creditor's Name
          c/o Levy Diamond Bello                                     When was the debt incurred?
          PO Boc 352
          Milford, CT 06460
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice only - debt paid




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                         Case number (if know)

 4.1
 1        Home Depot Credit Serv                                     Last 4 digits of account number                                                       $1,000.00
          Nonpriority Creditor's Name
          PO Box 790340                                              When was the debt incurred?
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business credit card - estimated amount


 4.1
 2        Kabbage                                                    Last 4 digits of account number                                                     $30,000.00
          Nonpriority Creditor's Name
          PO Box 77081                                               When was the debt incurred?           2016-17
          Atlanta, GA 30357
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business loan - estimated amount


 4.1
 3        Keller Supply                                              Last 4 digits of account number       1538                                            $2,700.00
          Nonpriority Creditor's Name
          c/o Continental Commercila                                 When was the debt incurred?
          317 Brand Blvd.
          Glendale, CA 91204-1701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Business supplies - personal liability
           Yes                                                       Other. Specify     disputed




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                         Case number (if know)

 4.1
 4        Liberty Mutual                                             Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          c/o W Scott Noel                                           When was the debt incurred?
          1001 Fourth Ave, suite 3300
          Seattle, WA 98154
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice only - See Schedule G


 4.1
 5        Newcastle Joint Ventures LLC                               Last 4 digits of account number       4001                                                  $0.00
          Nonpriority Creditor's Name
          671 N GLEBE RD STE 800                                     When was the debt incurred?
          Arlington, VA 22203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     being defended by insurance counsel


 4.1
 6        Pacific Pride Fuel                                         Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          2003 Western Ave., Ste. 203                                When was the debt incurred?           2015-19
          Seattle, WA 98121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business fule purchases




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 Debtor 1 Dayton Matthew Dennison                                                                         Case number (if know)

 4.1
 7         Plumbers Union Local 32                                   Last 4 digits of account number                                                    $519,000.00
           Nonpriority Creditor's Name
           c/o Noelle Dzwazski                                       When was the debt incurred?
           1325 Fourth Ave, suite 910
           Seattle, WA 98101
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                      Contingent
            Debtor 1 only
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
                                                                     Type of NONPRIORITY unsecured claim:
            At least one of the debtors and another
                                                                      Student loans
            Check if this claim is for a community
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     "Work Recovery" advances


 4.1
 8         Plumbers Union Local 32                                   Last 4 digits of account number                                                    $243,000.00
           Nonpriority Creditor's Name
           c/o Noelle Dzwazski                                       When was the debt incurred?
           1325 Fourth Ave, suite 910
           Seattle, WA 98101
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                      Contingent
            Debtor 1 only
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
                                                                     Type of NONPRIORITY unsecured claim:
            At least one of the debtors and another
                                                                      Student loans
            Check if this claim is for a community
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Back union dues and benefit contributions


 4.1
 9         Verizon                                                   Last 4 digits of account number       0304                                            $3,040.00
           Nonpriority Creditor's Name
           CBE Group                                                 When was the debt incurred?
           1309 Technology Pkw
           Cedar Falls, IA 50613
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community               Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Business telephone service - personal
            Yes                                                      Other. Specify     liability disputed

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 9
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 Debtor 1 Dayton Matthew Dennison                                                                        Case number (if know)

   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 315111                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84131-9934
                                                               Last 4 digits of account number                  2006

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Firstsource Advantage                                         Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 205 Bryant Woods S                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Amherst, NY 14228
                                                               Last 4 digits of account number                  2006

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Liberty Mutual                                                Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 515097                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Los Angeles, CA 90051-5097
                                                               Last 4 digits of account number                  5217

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercantile Adjustment                                         Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 9055                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Williamsville, NY 14231-9055
                                                               Last 4 digits of account number                  9242

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Olmstead & Somers                                             Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Attn T Olmstead                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 68
 Poulsbo, WA 98370
                                                               Last 4 digits of account number                  Fora Financial

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                          0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                          0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $               1,240,122.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $               1,240,122.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 9 of 9
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             Case 19-13282-CMA                           Doc 1           Filed 09/03/19              Ent. 09/03/19 17:14:55                    Pg. 29 of 53
 Fill in this information to identify your case:

 Debtor 1                Dayton Matthew Dennison
                         First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Liberty Mutual                                                               Contractor bond and liability insurance.
              175 Berkeley St
              Boston, MA 02116




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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                Case 19-13282-CMA                        Doc 1            Filed 09/03/19     Ent. 09/03/19 17:14:55              Pg. 30 of 53
 Fill in this information to identify your case:

 Debtor 1                   Dayton Matthew Dennison
                            First Name                           Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name              Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?                -NONE-          . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:


    3.1         Bigfoot Plumbing LLC                                                                       Schedule D, line        2.1
                                                                                                           Schedule E/F, line
                                                                                                           Schedule G
                                                                                                          Ally Financial



    3.2         Bigfoot Plumbing LLC                                                                       Schedule D, line
                                                                                                           Schedule E/F, line         4.3
                                                                                                           Schedule G
                                                                                                          American Express




Official Form 106H                                                                    Schedule H: Your Codebtors                                       Page 1 of 3
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 Debtor 1 Dayton Matthew Dennison                                                          Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.3      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.4
                                                                                                 Schedule G
                                                                                                Bank of America



    3.4      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.8
                                                                                                 Schedule G
                                                                                                Fora Financial



    3.5      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.12
                                                                                                 Schedule G
                                                                                                Kabbage



    3.6      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.11
                                                                                                 Schedule G
                                                                                                Home Depot Credit Serv



    3.7      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.16
                                                                                                 Schedule G
                                                                                                Pacific Pride Fuel



    3.8      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.7
                                                                                                 Schedule G
                                                                                                Ferguson Enterprises



    3.9      Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.19
                                                                                                 Schedule G
                                                                                                Verizon



    3.10     Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line    4.14
                                                                                                 Schedule G
                                                                                                Liberty Mutual




Official Form 106H                                                          Schedule H: Your Codebtors                                Page 2 of 3
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             Case 19-13282-CMA                           Doc 1       Filed 09/03/19   Ent. 09/03/19 17:14:55           Pg. 32 of 53
 Debtor 1 Dayton Matthew Dennison                                                          Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.11     Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line       4.15
                                                                                                 Schedule G
                                                                                                Newcastle Joint Ventures LLC



    3.12     Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line       4.1
                                                                                                 Schedule G
                                                                                                ADT



    3.13     Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line       4.9
                                                                                                 Schedule G
                                                                                                Greystar Development & Constr



    3.14     Bigfoot Plunbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line       4.2
                                                                                                 Schedule G
                                                                                                Ally



    3.15     Dennison Investments LLC                                                            Schedule D, line
                                                                                                 Schedule E/F, line       4.6
                                                                                                 Schedule G
                                                                                                Bud & Marilynn Dennison



    3.16     Dennison Investments LLC                                                            Schedule D, line        2.3
                                                                                                 Schedule E/F, line
                                                                                                 Schedule G
                                                                                                Estate of James Beckland



    3.17     Hillary Mace                                                                        Schedule D, line        2.2
             4323 NE 45th St                                                                     Schedule E/F, line
             Seattle, WA 98105
                                                                                                 Schedule G
                                                                                                BB&T



    3.18     Bigfoot Plumbing LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line
                                                                                                 Schedule G        2.1
                                                                                                Liberty Mutual




Official Form 106H                                                          Schedule H: Your Codebtors                                Page 3 of 3
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             Case 19-13282-CMA                           Doc 1       Filed 09/03/19   Ent. 09/03/19 17:14:55              Pg. 33 of 53
Fill in this information to identify your case:

Debtor 1                      Dayton Matthew Dennison

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF WASHINGTON

Case number                                                                                              Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            plumber                                     engineer
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       RJB Wholesale                               Microsoft

       Occupation may include student        Employer's address
                                                                   12418 NE 124th St
       or homemaker, if it applies.
                                                                   Kirkland, WA 98083

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         6,950.00      $         11,542.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      6,950.00             $   11,542.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1

               Case 19-13282-CMA                  Doc 1     Filed 09/03/19           Ent. 09/03/19 17:14:55                     Pg. 34 of 53
Debtor 1    Dayton Matthew Dennison                                                               Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      6,950.00       $        11,542.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,202.00   $            2,424.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00   $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00   $            2,078.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00   $               36.00
      5e.   Insurance                                                                      5e.        $          0.00   $                0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00   $                0.00
      5g.   Union dues                                                                     5g.        $          0.00   $                0.00
      5h.   Other deductions. Specify: FSA                                                 5h.+       $          0.00 + $               84.00
            Disability Ins.                                                                           $          0.00   $               30.00
            Life ins.                                                                                 $          0.00   $                4.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,202.00       $        4,656.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,748.00       $        6,886.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                    0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                    0.00
      8h. Other monthly income. Specify: commissions                                       8h.+ $            1,375.00 + $                    0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,375.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              7,123.00 + $       6,886.00 = $           14,009.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $          14,009.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2

            Case 19-13282-CMA                 Doc 1        Filed 09/03/19           Ent. 09/03/19 17:14:55                      Pg. 35 of 53
Fill in this information to identify your case:

Debtor 1              Dayton Matthew Dennison                                                              Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON                                             MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                                                                                   Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            4,899.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                               0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1


           Case 19-13282-CMA                       Doc 1        Filed 09/03/19             Ent. 09/03/19 17:14:55                     Pg. 36 of 53
Debtor 1     Dayton Matthew Dennison                                                                  Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                100.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                      6c. $                                                45.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                               500.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               250.00
10.   Personal care products and services                                                    10. $                                                550.00
11.   Medical and dental expenses                                                            11. $                                                  0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                120.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                100.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                   15a. $                                                  0.00
      15b. Health insurance                                                                 15b. $                                                  0.00
      15c. Vehicle insurance                                                                15c. $                                                150.00
      15d. Other insurance. Specify:                                                        15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                   0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                       17a. $                                                578.00
      17b. Car payments for Vehicle 2                                                       17b. $                                                  0.00
      17c. Other. Specify: Sumner mortgage (not being paid)                                 17c. $                                              2,700.00
      17d. Other. Specify:                                                                  17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                      20a. $                                                   0.00
      20b. Real estate taxes                                                                20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                     20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                         20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                      20e. $                                                   0.00
21.   Other: Specify:                                                                        21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                     10,142.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                     10,142.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                             14,009.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                            10,142.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                               3,867.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2


         Case 19-13282-CMA                       Doc 1         Filed 09/03/19               Ent. 09/03/19 17:14:55                    Pg. 37 of 53
 Fill in this information to identify your case:

 Debtor 1                    Dayton Matthew Dennison
                             First Name                     Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

               Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Dayton Matthew Dennison                                                X
              Dayton Matthew Dennison                                                    Signature of Debtor 2
              Signature of Debtor 1

              Date       September 3, 2019                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Dayton Matthew Dennison
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                                Dates Debtor 2
                                                                lived there                                                                        lived there
        2718 Eastlake Ave E unit 302                            From-To:                     Same as Debtor 1                                      Same as Debtor 1
        Seattle, WA 98102                                       10/13 - 10/16                                                                      From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                       $145,000.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

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 Debtor 1      Dayton Matthew Dennison                                                                     Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                            Wages, commissions,                       $213,000.00          Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                       $205,000.00          Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income             Gross income
                                                   Describe below.                  each source                    Describe below.               (before deductions
                                                                                    (before deductions and                                       and exclusions)
                                                                                    exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.       Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.       Go to line 7.
                        Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       BB&T                                                     Monthly mortgage              $14,700.00          $778,000.00        Mortgage
                                                                payments                                                             Car
                                                                                                                                     Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other



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 Debtor 1      Dayton Matthew Dennison                                                                     Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       !!! Parents?                                                                                  $0.00                $0.00


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Fora Financial v Bigfoot Plumbing                        Breach of contract          King County Superior Court                 Pending
       & Dennison                                               - loan                      3rd & James St                             On appeal
       19-2-06912-1 SEA                                                                     Seattle, WA 98104
                                                                                                                                       Concluded


       Boards of Trustee of the Seattle                         Breach of                   U.S. District Ct. W.D. WA                  Pending
       Area Plumbing Welfare Trust v                            collective                  700 Stewart St                             On appeal
       Bigfoot Plumbing and Dennison                            bargaining                  Seattle, WA 98101
                                                                                                                                       Concluded
       2:18-cv-01484-RAJ                                        agreement and
                                                                delinquent
                                                                contributions

       Boards of Trustee of the Seattle                         Suit on contractor          King County Superior Court                 Pending
       Area Plumbing Welfare Trust v                            bond                        3rd & James St                             On appeal
       Bigfoot Plumbing and Dennison                                                        Seattle, WA 98104
                                                                                                                                       Concluded
       18-2-25631-3 SEA

       PR II Kirkland Urban LLC v Bigfoot                       Third party claim           King County Superior Court                 Pending
       Plumbing and Dennison                                    for breach of               3rd & james St                             On appeal
       19-2-10079-6 SEA                                         construction                Seattle, WA 98104
                                                                                                                                       Concluded
                                                                contract

       Ferguson Ent. v Bigfoot Plumbing                         Collection                  King County Superior Court                 Pending
       LLC and Dennison                                                                     Maleng Justice Center                      On appeal
       19-2-03017-8 KNT                                                                     401 4th Ave N
                                                                                                                                       Concluded
                                                                                            Kent, WA 98032
                                                                                                                                    default judgment set aside
                                                                                                                                    8/30/19


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10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                     Value of the
                                                                                                                                                          property
                                                                Explain what happened
       Ferguson Enterprises                                     Wage garnishment                                              5/15/19 and                  $737.50
                                                                                                                              after
                                                                 Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was               Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                   Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
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 Debtor 1      Dayton Matthew Dennison                                                                     Case number (if known)



      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Donald A Bailey                                               cash                                                     12/18/18                $11,665.00
       1601 5th Ave, suite 610                                                                                                $5000
       Seattle, WA 98101                                                                                                      8/31/19 $6665


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                  Describe any property or         Date transfer was
       Address                                                       property transferred                      payments received or debts       made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred




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 Debtor 1      Dayton Matthew Dennison                                                                      Case number (if known)



       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred
       Bank of America                                          XXXX-                          Checking                10/18                      $1,500.00
                                                                                               Savings
                                                                                               Money Market
                                                                                               Brokerage
                                                                                               Other  Checking
                                                                                              account of
                                                                                              Bigfoot Plumbing
                                                                                              LLC - funds
                                                                                              transferred to
                                                                                              debtor's BECU
                                                                                              account -
                                                                                              approximate
                                                                                              amount


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Bigfoot Plumbing LLC                                     Plumbing contractor, out of                          EIN:       XX-XXXXXXX
                                                                business
                                                                                                                     From-To    2009-mid 2019
                                                                Ken Russell
                                                                Access Accounting
                                                                40 Lake Bellevue Dr #100
                                                                Bellevue WA 98005

       Dennison Investments LLC                                 Real estate investment - see                         EIN:
                                                                Schedule A/B
                                                                                                                     From-To



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)
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        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Kabbage                                                 2016


        Fora Financial                                          2016


        BB&T Mortgage                                           2016



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Dayton Matthew Dennison
 Dayton Matthew Dennison                                                 Signature of Debtor 2
 Signature of Debtor 1

 Date      September 3, 2019                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                  Dayton Matthew Dennison
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF WASHINGTON

 Case number
 (if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ally Financial                                         Surrender the property.                     No
    name:                                                                     Retain the property and redeem it.
                                                                              Retain the property and enter into a        Yes
    Description of 2015 Chevrolet Silverado 47500                               Reaffirmation Agreement.
    property       miles                                                      Retain the property and [explain]:
    securing debt: Titled in name of Bigfoot
                   Plumbing LLC                                               maintain payments


    Creditor's         BB&T                                                   Surrender the property.                     No
    name:                                                                     Retain the property and redeem it.
                                                                              Retain the property and enter into a        Yes
    Description of 4323 NE 45th St. Seattle, WA                                 Reaffirmation Agreement.
    property       98105 King County                                          Retain the property and [explain]:
    securing debt: Residence                                                  Maintain payments


    Creditor's         Estate of James Beckland                               Surrender the property.                     No
    name:                                                                     Retain the property and redeem it.
                                                                              Retain the property and enter into a        Yes
    Description of        2110 136th Ave E Sumner, WA                           Reaffirmation Agreement.
                          98390 Pierce County

Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                page 1

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     property           Investment property held in title                Retain the property and [explain]:
     securing debt:     by Dennison Investments LLC -
                        single member LLC formed
                        prior to marriage

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                            Will the lease be assumed?

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Dayton Matthew Dennison                                                 X
       Dayton Matthew Dennison                                                         Signature of Debtor 2
       Signature of Debtor 1

       Date        September 3, 2019                                               Date




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Western District of Washington
 In re       Dayton Matthew Dennison                                                                          Case No.
                                                                                  Debtor(s)                   Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                    6,665.00
              Prior to the filing of this statement I have received                                       $                    6,665.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 3, 2019                                                            /s/ Donald A. Bailey
     Date                                                                         Donald A. Bailey 12289
                                                                                  Signature of Attorney
                                                                                  Donald A Bailey Attorney at Law
                                                                                  1610 Fifth Ave., suite 610
                                                                                  Seattle, WA 98101
                                                                                  206 682 4802
                                                                                  donald.bailey@shaferbailey.com
                                                                                  Name of law firm




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                                                              United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Dayton Matthew Dennison                                                                          Case No.
                                                                                    Debtor(s)                Chapter     7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: September 3, 2019                                                 /s/ Dayton Matthew Dennison
                                                                         Dayton Matthew Dennison
                                                                         Signature of Debtor




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                        ADT
                        C/O RICHARD AVIS
                        PO BOX 31579
                        CHICAGO, IL 60631


                        ALLY
                        PO BOX 78234
                        PHOENIX, AZ 85062


                        ALLY FINANCIAL
                        PO BOX 380901
                        MINNEAPOLIS, MN 55438-0901


                        AMERICAN EXPRESS
                        BANKRUPTCY DEPT
                        16 GENERAL WARREN BLVD
                        MALVERN, PA 19355


                        AMERICAN EXPRESS
                        PO BOX 315111
                        SALT LAKE CITY, UT 84131-9934


                        BANK OF AMERICA
                        PO BOX 982235
                        EL PASO, TX 79998-2235


                        BB&T
                        200 W SECOND ST
                        WINSTON SALEM, NC 27101


                        BUD & MARILYNN DENNISON
                        3717 LAKE WASHINGTON BLVD N
                        RENTON, WA 98056


                        ESTATE OF JAMES BECKLAND
                        JAIME BECKLAND
                        18228 11TH AVE NE
                        SEATTLE, WA 98155


                        FERGUSON ENTERPRISES
                        C/O MICHAEL DELEO
                        1850 SKYLINE TOWER
                        10900 NE 4TH ST
                        BELLEVUE, WA 98004-8341




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                    FIRSTSOURCE ADVANTAGE
                    205 BRYANT WOODS S
                    AMHERST, NY 14228


                    FORA FINANCIAL
                    242 WEST 36TH ST
                    14TH FLOOR
                    NEW YORK, NY 10018


                    GREYSTAR DEVELOPMENT & CONSTR
                    800 5TH AVE
                    SUITE 4000
                    SEATTLE, WA 98104


                    HILLARY MACE
                    4323 NE 45TH ST
                    SEATTLE, WA 98105


                    HILTI INC
                    C/O LEVY DIAMOND BELLO
                    PO BOC 352
                    MILFORD, CT 06460


                    HOME DEPOT CREDIT SERV
                    PO BOX 790340
                    SAINT LOUIS, MO 63179


                    INTERNAL REVENUE SERVICE
                    BANKRUPTCY NOTICE
                    PO BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    KABBAGE
                    PO BOX 77081
                    ATLANTA, GA 30357


                    KELLER SUPPLY
                    C/O CONTINENTAL COMMERCILA
                    317 BRAND BLVD.
                    GLENDALE, CA 91204-1701


                    LIBERTY MUTUAL
                    PO BOX 515097
                    LOS ANGELES, CA 90051-5097




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                    LIBERTY MUTUAL
                    175 BERKELEY ST
                    BOSTON, MA 02116


                    MERCANTILE ADJUSTMENT
                    PO BOX 9055
                    WILLIAMSVILLE, NY 14231-9055


                    NEWCASTLE JOINT VENTURES LLC
                    671 N GLEBE RD STE 800
                    ARLINGTON, VA 22203


                    OLMSTEAD & SOMERS
                    ATTN T OLMSTEAD
                    PO BOX 68
                    POULSBO, WA 98370


                    PACIFIC PRIDE FUEL
                    2003 WESTERN AVE., STE. 203
                    SEATTLE, WA 98121


                    PLUMBERS UNION LOCAL 32
                    C/O NOELLE DZWAZSKI
                    1325 FOURTH AVE, SUITE 910
                    SEATTLE, WA 98101


                    VERIZON
                    CBE GROUP
                    1309 TECHNOLOGY PKW
                    CEDAR FALLS, IA 50613


                    WASH ATTY GENL
                    BANKRUPTCY UNIT
                    800 FIFTH AVENUE, SUITE 2000
                    SEATTLE, WA 98104




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